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                                   UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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       ANTHONY BOUYER, an                                             Case No.: 2:21cv01519RSWL(JEMx)
11     individual, ANTHONY BOUYER,
12     an individual,                                                 ORDER FOR DISMISSAL WITH
                                                                      PREJUDICE
13                    Plaintiff,
14
       v.
15
16     ACORN MANAGEMENT INC,
       a California corporation;
17     VALENCIA IN THE
18     SPOTLIGHT, LLC, a California
       limited liability company; and
19     DOES 1-10, inclusive,
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                         Defendants.
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23            Having considered the Parties’ stipulation, and good cause shown, IT IS
24   HEREBY ORDERED: that this case is Dismissed with prejudice. Each party to
25   bear its own costs and fees.
26            IT IS SO ORDERED.
27   Dated: August 30, 2021                                               __/S/ RONALD S.W. LEW
                                                                          United States District Judge
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      _________________________________________________________________________________________________________________________

                           ORDER OF DISMISSAL WITH PREJUDICE
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